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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
                                                                               2010 HAY -5 AM 9: 56
UNITED STATES OF AMERICA,                    )
                                             )
                                                                               OFfiCE Of' lHE CLERt\
                   Plaintiff,                )                    4:09CR3117
                                             )
            v.                               )
                                             )
TRAYES RUSH,                                 )     ORDER GRANTING MOTION TO SEAL
                                             )
                   Defendants.               )
                                             )


     IT IS ORDERED that the Motion to Seal, filing 119, is granted.

     Dated May 5, 2010.

                                    BY THE COURT




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                                    Warren K. Urbom
                                    United States Senior District Judge
